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                                   STATEMENT OF FACTS

        Your affiant, Neil Larson Jr., is a Task Force Officer with the Federal Bureau of
Investigation Philadelphia Field Office, Joint Terrorism Task Force. As a Task Force Officer, I
am authorized by law or by a Government agency to engage in or supervise the prevention,
detention, investigation, or prosecution of violations of Federal criminal laws. Currently, I am
tasked with investigating criminal activity in and around the U.S. Capitol grounds on January 6,
2021.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol
Police attempted to maintain order and keep the crowd from entering the Capitol; however, around
2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

       During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of


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violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

                                   Identification of Dickinson

        On January 9, 2021, a tipster (“T-1”) submitted a tip, identifying Michael Dickinson
(DICKINSON) in open-source video of the January 6, 2021, riot that was posted to Twitter. T-1
attached the video to the tip and described the actions in the video as “Michael Dickinson of
Philadelphia throwing an object at police.” T-1 further stated that Dickinson “was later injured
and is in a DC hospital.” T-1 indicated that he or she was familiar with DICKINSON through
mutual acquaintances. It is unclear whether T-1 and DICKINSON ever met in person. Your
affiant has reviewed the video submitted by T-1. In the video, the individual T-1 identified as
DICKINSON can be seen throwing an object resembling a coffee tumbler at police. The object
strikes a law enforcement officer in the face/chest. Based on your affiant’s review of the video, I
believe the video was taken outside of the United States Capitol building during the riot on January
6, 2021. Still images from the video are below. The object thrown by DICKINSON has been
circled in red.




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         Your affiant compared DICKINSON’s Pennsylvania identification card photograph with
the still images copied above and below and determined that the individual in the still images is
DICKINSON.

        Body-worn camera (“BWC”) footage captured by Metropolitan Police Department officers
on January 6, 2021, on the U.S. Capitol grounds also shows DICKINSON throwing an object
resembling a coffee tumbler at law enforcement. Still images from the BWC are below. The
object is circled in red in the first picture below.




        Additional footage, received through a second tipster and open-source searches, shows
DICKINSON picking up an object appearing to be a large bucket filled with a liquid and throwing
the liquid and the bucket at law enforcement officers who, based on your affiant’s review of the
video, appear to be attempting to clear rioters from the Capitol grounds. Still images from this
footage are below. DICKINSON is circled in red in this first image and identified by red arrows
in the second image.




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       Additional open-source footage from January 6, 2021, shows DICKINSON bleeding and
holding his face, corroborating T-1’s tips that DICKINSON was injured during the riot. Still
images from the open-source footage are below.




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        The FBI obtained medical records for Michael Dickinson from Prince George’s Hospital
Center, a medical facility near Washington, D.C. According to those records, a Michael
Dickinson, with an address in Philadelphia, Pennsylvania, received treatment from Prince
George’s Hospital on January 6 and 7, 2021. The date of birth on the medical records is the same
as the date of birth for DICKINSON on his Pennsylvania Department of Transportation photo
identification card. The medical records indicate that DICKINSON informed medical personnel
that he was at the rally in Washington, D.C. on January 6, 2021, and that he had been struck by
what he believed to be a rubber bullet. The records specified numerous facial injuries.

        In addition, law enforcement identified a telephone number associated with
DICKINSON’s home address, the same address listed on the medical records. Your affiant has
determined that DICKINSON lives at this address with several other people, believed to be
relatives based on their same last names. Information received pursuant to legal process shows
that the phone number associated with DICKINSON’s home address made multiple calls to the
hospital between January 6, 2021, and January 7, 2021.

       On January 6, 2021, DICKINSON was wearing a sweatshirt with a green shamrock on the
front with the words “GRAYS FERRY,” “DEVIL’S POCKET,” “SCHUYKILL,” and the name
“SEAN” in the middle. Your affiant knows based on open-source research that the sweatshirt was
made in memory of a Philadelphia, Pennsylvania resident. Based on the hospital records and
checks of law enforcement databases, I also know that DICKINSON resides in Philadelphia,
Pennsylvania.

       Your affiant also reviewed the publicly available Facebook posts, including the image
below, from the Facebook account for an individual with the name “Tyler Dickinson.”
Information obtained by the Pennsylvania Department of Transportation shows Tyler Dickinson

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residing at the same address as Michael DICKINSON. Based on their same last name, similar
appearance, and same address, your affiant believes Tyler Dickinson and Michael DICKINSON
are relatives, likely brothers. Your affiant compared the image below, with Michael DICKINSON
circled in red, to the above photographs of DICKINSON on January 6, 2021, and determined the
individual in the photographs appears to be the same individual.




       Based on the foregoing, your affiant submits that there is probable cause to believe that
MICHAEL DICKINSON violated 18 U.S.C. § 1752(a)(1), (2), (4), which makes it a crime to (1)
knowingly enter or remain in any restricted building or grounds without lawful authority to do;
and (2) knowingly, and with intent to impede or disrupt the orderly conduct of Government
business or official functions, engage in disorderly or disruptive conduct in, or within such

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proximity to, any restricted building or grounds when, or so that, such conduct, in fact, impedes or
disrupts the orderly conduct of Government business or official functions; and (4) knowingly
engage in any act of physical violence against any person or property in any restricted building or
grounds; or attempt or conspire to do so. For purposes of Section 1752 of Title 18, a “restricted
building” includes a posted, cordoned off, or otherwise restricted area of a building or grounds
where the President or other person protected by the Secret Service, including the Vice President,
is or will be temporarily visiting; or any building or grounds so restricted in conjunction with an
event designated as a special event of national significance.

        Your affiant submits there is also probable cause to believe that MICHAEL DICKINSON
violated 40 U.S.C. § 5104(e)(2)(D) and (F) which makes it a crime to willfully and knowingly (D)
utter loud, threatening, or abusive language, or engage in disorderly or disruptive conduct, at any
place in the Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or disturb
the orderly conduct of a session of Congress or either House of Congress, or the orderly conduct
in that building of a hearing before, or any deliberations of, a committee of Congress or either
House of Congress; and (F) engage in an act of physical violence in the Grounds or any of the
Capitol Buildings.

        Your affiant submits there is probable cause to believe that MICHAEL DICKINSON twice
violated 18 U.S.C. § 111(a)(1) which makes it a crime to forcibly assault, resists, oppose, impede,
intimidate, or interfere with a federal agent while they are engaged in their official duties.

        Your affiant submits there is probable cause to believe that MICHAEL DICKINSON
violated 18 U.S.C. § 231(a)(3), which makes it unlawful to commit or attempt to commit any act
to obstruct, impede, or interfere with any fireman or law enforcement officer lawfully engaged in
the lawful performance of his official duties incident to and during the commission of a civil
disorder which in any way or degree obstructs, delays, or adversely affects commerce or the
movement of any article or commodity in commerce or the conduct or performance of any
federally protected function. For purposes of Section 231 of Title 18, a federally protected function
means any function, operation, or action carried out, under the laws of the United States, by any
department, agency, or instrumentality of the United States or by an officer or employee thereof.
This includes the Joint Session of Congress where the Senate and House count Electoral College
votes.

                                                      _________________________________
                                                      Neil Larson Jr.
                                                      Task Force Officer CT-4
                                                      FBI - Philadelphia JTTF

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 30th day of September, 2021.
                                                                         2021.09.30
                                                                         11:51:56 -04'00'
                                                     ___________________________________
                                                     ROBIN M. MERIWEATHER
                                                     UNITED STATES MAGISTRATE JUDGE

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